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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA
: CONSENT PRELIMINARY ORDER

-V.- OF FORFEITURE AS TO SPECIFIC

: PROPERTY AND SUBSTITUTE

JAMES ZHONG, ASSETS/MONEY JUDGMENT
: ? bets

Defendant. 22 Créo@ )
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WHEREAS, on or about November , 2022, JAMES ZHONG (the “Defendant’”’),
was charged in a one-count Information, 22 cr.b06 the “Information”), with wire fraud, in
violation of Title 18, United States Code, Sections 1343 and 2 (Count One);

WHEREAS, the Information included a forfeiture allegation as to Count One of the
Information, seeking forfeiture to the United States, pursuant to Title 18, United States Code,
Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), of any and all property,
real and personal, that constitutes or is derived from proceeds traceable to the commission of the
offense charged in Count One of the Information, including all right, title, and interest of the
defendant in the following specific property: the Defendant’s 80% interest in RE&D Investments,
LLC, EIN: XX-XXXXXXX (the “Specific Property”);

WHEREAS, the Information also included a substitute asset provision providing
notice that if as a result of the defendant’s actions or omissions forfeitable property is unable to be
located or obtained, the United States would seek, pursuant to Title 21, United States Code, Section

853(p) and Title 28, United States Code, Section 2461(c), the forfeiture of any other property of

the Defendant;

 

 

 
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WHEREAS, on or about November 9, 2021, pursuant to a judicially authorized
premises search warrant of the Defendant’s residence, the Government seized, among other items,
the following property from the Defendant in the Northern District of Georgia:

a. 11.1160005300044 BTC;
b. $661,900 in United States currency;

c. 25 Casascius coins (physical bitcoin) with an approximate value of 174
BTC, collectively; and

d. metal items, consisting of four one-ounce silver-colored bars, three one-
ounce gold-colored bars, four 10-ounce silver-colored bars, and one

gold-colored coin;

(a. through d., collectively, the “Seized Assets’);

WHEREAS, the Government seized, among other items, the following property from the
Defendant on the dates below in the Southern District of New York:
a. onor about April 27, 2022: 23.7112850 BTC;
b. on or about April 28, 2022: 115.02532155 BTC;

c. onor about June 8, 2022: 4.57427222 BTC;

(a. through c., collectively with the Seized Assets, the “Substitute Assets”);

WHEREAS, on or about November 2022, the Defendant pleaded guilty to Count One
of the Information, pursuant to a plea agreement with the Government, wherein the Defendant
admitted the forfeiture allegation with respect to Count One of the Information and agreed to forfeit
to the United States pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28,
United States Code, Section 2461 (c): (i) a sum of money equal to $42,747,425.95 in United States

currency, representing the value of certain proceeds traceable to the commission of the offense

 

 

 

 

 
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charged in Count One of the Information (the “Money Judgment”), namely, the approximate value,
based on the lowest spot price of BTC on October 6, 2022, of the 2148.10214197 Bitcoin (out of
the Defendant's 53,500 Bitcoin in total fraud proceeds) that the Defendant dissipated; and (ii) all
right, title, and interest of the Defendant in the Specific Property;

WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $42,747,425.95 in United States currency, representing the value of certain proceeds
traceable to the commission of the offense charged in Count One of the Information that the
Defendant personally obtained;

WHEREAS, the Defendant further consents to the forfeiture of all his right, title,
and interest in the Specific Property as proceeds of the offense charged in Count One of the
Information;

WHEREAS, the Defendant further consents to the forfeiture of all his right, title,
and interest in the Substitute Assets to the United States as substitute assets pursuant to Title 21,

United States Code, Section 853(p) and Title 28, United States Code, Section 2461(c);

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, all of the proceeds traceable to the offense charged in Count One of the Information

that the Defendant personally obtained cannot be located upon the exercise of due diligence; and

WHEREAS, pursuant to Title 21, United States Code, Section 853(g), and Rules
32.2(b)(3), and 32.2(b)(6) of the Federal Rules of Criminal Procedure, the Government is now
entitled, pending any assertion of third-party claims, to reduce the Specific Property and the
Substitute Assets to its possession and to notify any and all persons who reasonably appear to be

a potential claimant of their interest herein;

 

 

 

 

 

 
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IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Damian Williams, United States Attorney, Assistant United States
Attorney, David R. Felton, of counsel, and the Defendant, and his counsel, Michael F. Bachner,
Esq., John A. Garland, Esq., Donald F. Samuel, Esq., and Amanda R. Clark Palmer, Esq., that:

1. As aresult of the offense charged in Count One of the Information, to which
the Defendant pled guilty, a money judgment in the amount of $42,747,425.95 in United States
currency, representing the value of certain proceeds traceable to the offense charged in Count One
of the Information that the Defendant personally obtained, shall be entered against the Defendant.

2. As aresult of the offense charged in Count One of the Information, to which
the Defendant pleaded guilty, all of the Defendant’s right, title, and interest in the Specific Property
is hereby forfeited to the United States for disposition in accordance with the law, subject to the
provisions of Title 21, United States Code, Section 853.

3, All of the Defendant’s right, title, and interest in the Substitute Assets is
hereby forfeited as a substitute asset to the United States for disposition in accordance with the
law, subject to the provisions of Title 21, United States Code, Section 853.

4, Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture as to Specific Property and Substitute Assets/Money
Judgment is final as to the Defendant, JAMES ZHONG, and shall be deemed part of the sentence
of the Defendant, and shall be included in the judgment of conviction therewith.

5. The Defendant shall make a payment in the amount of $400,000 in United

States currency on or before December 6, 2022 (the “Payment”). Upon entry of a Final Order of

 

 

 

 
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Forfeiture with respect to the Specific Property and Substitute Assets, the Payment shall be applied
in full satisfaction of the Money Judgment.

6. The Payment shall be made by wire transfer to the United States Marshals
Service pursuant to the wire instructions to be provided to the Defendant by the Government.

7. The United States Marshals Service is authorized to deposit. the Payment
into the Assets Forfeiture Fund, and the United States shall have clear title to such forfeited
property.

8. Upon entry of this Consent Preliminary Order of Forfeiture as to Specific
Property and Substitute Assets/Money Judgment, the United States (or its designee) is hereby
authorized to take possession of the Specific Property and the Substitute Assets and to hold such
property in its secure custody and control.

9. Pursuant to Title 21, United States Code, Section 853(n)(1), Rule 32.2(b)(6)
of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of the
Supplemental Rules for Certain Admiralty and Maritime Claims and Asset Forfeiture Actions, the
United States is permitted to publish forfeiture notices on the government internet site,
www.forfeiture.gov. This site incorporates the forfeiture notices that have been traditionally
published in newspapers. The United States forthwith shall publish the internet ad for at least
thirty (30) consecutive days. Any person, other than the Defendant, claiming interest in the
Specific Property and/or Substitute Assets must file a Petition within sixty (60) days from the first
day of publication of the Notice on this official government internet web site, or no later than

thirty-five (35) days from the mailing of actual notice, whichever is earlier.

 

 

 

 

 
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10. The published notice of forfeiture shall state that the petition (i) shall be for
a hearing to adjudicate the validity of the petitioner’s alleged interest in the Specific Property
and/or Substitute Assets, (ii) shall be signed by the petitioner under penalty of perjury, and (iii)
shall set forth the nature and extent of the petitioner’s right, title, or interest in the Specific Property
and/or Substitute Assets, the time and circumstances of the petitioner’s acquisition of the right,
title, and interest in the Specific Property and/or Substitute Assets, any additional facts supporting
the petitioner’s claim, and the relief sought, pursuant to Title 21, United States Code, Section
853(n).

11. Pursuant to 32.2 (b)(6)(A) of the Federal Rules of Criminal Procedure, the
Government shall send notice to any person who reasonably appears to be a potential claimant
with standing to contest the forfeiture in the ancillary proceeding.

12. Upon adjudication of all third-party interests, this Court will enter a Final
Order of Forfeiture with respect to the Specific Property and to the Substitute Assets pursuant to
Title 21, United States Code, Section 853(n), in which all interests will be addressed. All Specific
Property forfeited to the United States under a Final Order of Forfeiture and the Substitute Assets
shall be applied towards the satisfaction of the Money Judgment.

13. Pursuant to Title 21, United States Code, Section 853(p), the United States
is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount
of the Money Judgment.

14. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate

 

 

 

 
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or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

15. The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture as to Specific Property and Substitute Assets/Money Judgment, and to amend it as !
necessary, pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure.

16. The signature page of this Consent Preliminary Order of Forfeiture as to

Specific Property and Substitute Assets/Money Judgment may be executed in one or more

 

counterparts, each of which will be deemed an original but all of which together will constitute

 

 

 

 

 
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one and the same instrument.
AGREED AND CONSENTED TO:

DAMIAN WILLIAMS
United States Attorney for the
Southern District of New York

py, Laved Fehon 10-26-2022
DAVID R. FELTON DATE
Assistant United States Attorneys
One St. Andrew’s Plaza
New York. NY 10007
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JAMES ZHONG
By: Dan “Ui? 10-26-22
JAMES ZHOXG DATE

 

By: es 10-26-22

/ SHEET BACHNER. oe DATE

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New York, New York 10006

JOHN A. GARLAND, ESQ.

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AMANDA R. CLARK PALMER, ESO.
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3151 Maple Drive

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Attorneys for Defendant JAMES ZHONG

 

 

 

 

SO ORDERED:
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HONORABLE ful € Gah pe v DATE

UNITED STATES DISTRICT JUDG
